Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 1 of 14 PageID 396




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


 ALEJANDRO LUIS VEGA,

          Petitioner,

  v.                                      Case No.8:04-CV-2609-T-23TBM
                                                  8~02-CR-129-23TBM
  UNITED STATES OF AMERICA,

          Respondent.




                                  O R D E R

          Before the Court is Petitioner's filing styled "Petition

  for Writ Under Title 28 U.S.C. § 2255 to Vacate and Set Aside

  the Judgment of Conviction, Points and Authorities" ( D - 1 )

  Petitioner's Amended Petition (D-6), the Government's response

  in opposition thereto (D-9)' and Petitioner's reply brief (D-

  12) .

          On August 18, 2003, Petitioner pled guilty to Count One

  of the Indictment which charged that Petitioner and others

  conspired to possess with the intent to distribute MDMA in
  violation of 21 U.S.C. § 846. On December 3 , 2003, the Court
  sentenced Petitioner to a term of incarceration of 63 months

  to be followed by a three-year term of supervised release.
  Petitioner did not appeal his conviction or sentence.
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 2 of 14 PageID 397




       On December 2, 2004, the Court received petitioner's
 motion to vacate, set aside or correct sentence pursuant to 28

 U.S.C.    §   2255.   In his motion, Petitioner argued that his

 sentence was based on an incorrect computation of the number

 of MDMA pills seized. Petitioner continued that the amount of

 drugs was neither proved to the jury beyond a reasonable doubt

 nor stipulated to by the petitioner. Petitioner also asserted

 that his counsel was ineffective in failing to file a motion

 or argue at sentencing that the firearm enhancement was not

 applicable.

       In that initial section 2255 motion, Petitioner requested

  that his motion be held in abeyance until the Supreme Court

  issued its then-awaited decision in United States v. Booker,

  125 S.Ct. 738 (2005). He further sought an extension of time

  to obtain counsel and file an amended petition as he did not

  "have the proper documentation to support [his] allegations."

  D   l p.3)     The Court allowed Petitioner additional time to

  file an amended motion, but did not conclusively determine the

  timeliness of any amended claims.

       Petitioner, through his newly retained counsel, filed his
  amended motion on March 3 , 2305.         In that motion, Petitioner
  recognized that controlling Law of the Eleventh Circuit holds
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 3 of 14 PageID 398




  that neither Booker nor Blakelv v. Washington, 124 S.Ct. 2531

  (2004), applies retroactively to cases on collateral review.

 Varela v. United States, 400 F . 3 d 864, 867 (11th ~ i r .2 0 0 5 ) ~

  citing Schriro v. Summerlin, 124 S. Ct. 2519, 2526-27 (2004).

 As such, Petitioner has abandoned his claims related to the

  amount of drugs.

        In his    amended    motion, Petitioner's sole challenge

  relates to the Court's decision to enhance Petitioner's

  sentence for possession of a firearm during the commission of

  a drug offense, which claim is premised on ineffective

  assistance of counsel.        Specifically, Petitioner argues that

  his counsel at sentencing was ineffective in the following:

  (1) failing to object to the factual findings presented in the

  PSI concerning the gun allegations; (2) failing to bring out

  the use of lack of foreseeability and to support it factually;

  ( 3 ) improperly admitting knowledge on behalf of Petitioner

  with respect to constructive possession;                (4) failing to

  require the Court to make a factual finding; ( 5 ) failing to

  object to unfounded factual statements by the Government

  concerning possession; and           (6) failing to argue that a
  different standard applies when a weapon is in possession of
  a co-conspirator.
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 4 of 14 PageID 399




       The Government responds that petitioner's claims related

  to Blakelv are barred.        As to the ineffective assistance of
  counsel claim, the Government argues that Petitioner expressly

  waived his right to appeal or collaterally attack his sentence

  when he entered into the plea agreement.                 The Government
  continues that given Petitioner's waiver, the Court should not

  consider the ineffective assistance of counsel arguments

  raised by Petitioner.         Petitioner replies that he did not

  waive his right to assert ineffective assistance of counsel.

        In order for the Court to enforce a sentence-appeal

  waiver, the waiver must have been knowing and voluntary.

  United States v. Bushert, 997 F.2d 1343, 1350 (11th Cir.

  1993).      In order      to be    knowing    and voluntary, "[tlhe

  government must       show that either        (1) the district court

  specifically questioned the defendant concerning the sentence

  appeal waiver during the Rule 11 colloquy, or (2) it is

  manifestly clear from the record that the defendant otherwise

  understood the full significance of the waiver."             997 F.2d at

  1351.

        In this case, a review of the plea agreement shows that
  it included a provision relating to waiver of appeal or

  collateral attack.       (D-55, Y B . ~ . ) Specifically, it provides
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 5 of 14 PageID 400




  in pertinent part as follows:
        [Tlhe defendant agrees that this Court has
        jurisdiction and authority to impose any sentence up
        to the statutory maximum set forth in the offense
        and pursuant to the sentencing guidelines and
        expressly waives the right to appeal defendant's
        sentence, directly or collaterally, on any ground
        except for an upward departure by the sentencing
        judge, a sentence above the statutory maximum, a
        sentence in violation of the law apart from the
        sentencing guidelines, or the applicability of the
        "safety valve" provisions of 18 U.S.C. § 3553 (f) and
        USSG S5C1.2; provided, however, that if the
        government exercises its right to appeal the
        sentence imposed, as acthorized by 18 U.S.C. §
        3 7 4 2 (b), the defendant is released from waiver and
        may appeal the sentence as authorized by 18 U.S.C.
        5 3742 (a).

  (Id.)
      (Emphasis added.)

        Furthermore, the transcript of the guilty plea hearing

  demonstrates that the Court addressed the waiver provision.

  The Court questioned Defenda2t about the plea agreement and

  asked whether he was "familiar with the terms, conditions and

  provisions of it," to which Petitioner responded, "Yes, Your

  Honor."     (D-88, p. 17, 1 4 - 1 0 .      Petitioner stated that he

  agreed to the written plea agreement and that he had initialed

  each page of the agreement.           (Id.at 1. 11-15.)        The Court
  then stated, "There's also a provision in the plea agreement
  with regard to a waiver or giving up of your right to appeal

  the sentence imposed. You understand that you are doing that
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 6 of 14 PageID 401




 except for certain specific grounds which are set forth in

 paragraph five of the plea agreement, Mr. ~alles?"' (Id.at

 p. 18.) After the co-defendant responded in the affirmative,
 the Court then stated, "And, also paragraph five of the

  agreement which Mr. Vega has signed."                 (Id.at p. 19.)
  Petitioner then agreed that his decision to plead guilty was

  his own independent decision made freely and voluntarily.

  (a)
    As such, the record shows that Petitioner knowingly and

  voluntarily waived his right to appeal.               United States v.

  Cesal, 391 F.3d 1172 (11th Cir. 2004) (per curiam) (citing

  United States v.Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001)

  (holding that a sentence appeal waiver was valid because "the
  waiver provision was referenced during [the defendant's] Rule

  11   plea   colloquy     and    [the defendant]       agreed   that    she

  understood the provision and that she entered into it freely

  and voluntarily").

        Furthermore, Petitioner has not shown that his claims

  fall within the exceptions to the express waiver provision.

  Specifically, the Court did not depart upward.                    Rather,

  Petitioner received a sentence significantly lower than that


             The Court simultaneously conducted guilty plea
  hearings with regard to Petitioner and his co-defendant, Ruben
  Calles.
                                       6
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 7 of 14 PageID 402



 which was originally calculated. The original calculation was
 an offense level of 33 and a criminal history of 111, yielding

 a   guideline imprisonment         range of     168-215    months.      At

 sentencing, Petitioner received a downward departure for

 substantial assistance.           Furthermore, the Court departed
 downward with regard to Petitioner's criminal history, making

 it a category 11.         As a result, his new sentencing range

 became 63 to 78 months.           Ultimately, Defendant received a

 sentence at the low end of the guidelinest range, that is, a

 term of imprisonment of 63 months.             That sentence does not

 exceed the statutory maximum nor does it violate the law.

 Finally, the Government did not appeal the sentence.

         Given the foregoing, Petitioner was barred from appealing
 his sentence. As such, Petitioner cannot show prejudice as a

 result of his attorney's failure to file an appeal. Garcia v.
 United States, No. 02 Civ. 5603(SWK), 2003 WL 21108307 at * 4

  (S.D.N.Y.May 15, 2003); United States v. McMasters, Case No.

 CR.A.    98-127, C.A. 00-52, 2001 WL 755402 at *3 (E.D. La. July

 3 , 2001) .

         The Government also contends that the plea agreement bars

 Petitioner from seeking § 2255 relief. Petitioner argues that
 the Eleventh Circuit "has not expressly ruled that a Buchanan
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 8 of 14 PageID 403



 type of appellate waiver inherently includes a waiver of

 ineffective      assistance      of   counsel."         (D-12, p.      7.)

 Petitioner, however, fails to recognize that the Eleventh

 Circuit recently held that a sentence-appeal waiver in a plea

 agreement precludes a defendant from collaterally attacking

 his sentence through a claim of ineffective assistance of

 counsel. Williams v. United States, 396 F.3d 1340, 1342 (11th

 Cir. 2005) .
       In Williams, the petiticner argued that the sentence-

 appeal waiver provision did not preclude him from contesting

 his counsel's effectiveness related to his sentencing. Id.at
  1341.     The Eleventh Circuit was persuaded by the other

  circuits that had found that " a valid sentence-appeal waiver,

  entered into voluntarily and knowingly, pursuant to a plea

  agreement, precludes the defendant from attempting to attack,

  in a collateral proceeding,          he sentence through a claim of

  ineffective assistance of counsel during sentencing." Id.at

  1342 (citations omitted.) The Eleventh Circuit reasoned that

  "a contrary result would permit a defendant to circumvent the

  terms of a sentence-appeal waiver simply be recasting a
  challenge     to   his   sentence     as   a   claim    of   ineffective
  assistance, thus rendering the waiver meaningless." Id.
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 9 of 14 PageID 404



       The court then found that, at the plea hearing, the
 district court had reviewed the provision with the petitioner
 and had found that petitioner entered into the written plea

 agreement knowingly and voluntarily.              The Eleventh Circuit
  then noted that "the plain language of the agreement in£ormed

 Williams that he was waiving a collateral attack on his

  sentence." Id. The court therefore affirmed the denial of

  collateral relief. Id.

       The same is true in this case.               The sentence-appeal

  waiver provision included in Petitioner's plea agreement is

  the identical waiver provision that was at issue in Williams.

  Furthermore, during the plea hearing, the Court reviewed the

  provision and noted that Petitioner had signed it. Petitioner

  stated he was familiar with the terms and provisions of the

  written agreement and that he entered into the agreement

  knowingly, freely and voluntarily, and the Court so found. As

  such, to the extent          that Petitioner claims ineffective

  assistance of counsel relating to Petitioner's sentencing,

  such a claim is precluded by the waiver provision of the plea
  agreement.
        Even if Petitioner were not barred from pursuing his
  ineffective assistance of counsel claims, he would not be
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 10 of 14 PageID 405



  entitled to the relief he seeks.           In order to succeed on an

  ineffective assistance of counsel claim under the Strickland

  v. Washinston, 466 U.S. 668, 687 (1984), a movant has the

  burden of proving: (1) deficient performance by counsel; and

   (2) prejudice resulting therefrom.          In this case, Petitioner

  cannot demonstrate either prong.

        Petitioner was represented by            two attorneys at his

  sentencing, Ty Trayner and James Wardell. His attorneys aptly

  represented      Petitioner       and    successfully      argued     that

  Petitioner's criminal history was overrepresented and for a

  greater downward departure then recommended by the Government

  based on substantial assistance.               Ultimately, Petitioner

  received a sentence well below the originally calculated

  sentencing range.

        The only dispute Petitioner has with his counsels'

  performance relates to the failure to successfully advocate

  against the firearm enhancement.              At the sentencing, the

  Government argued for a two-level increase pursuant to USSG

   S2Dl. 1 (b)(1) for firearm possession.          The Government argued

  that when Petitioner brought the pills back from Canada he
  would then go to a hotel room with co-conspirator Mace at
  which time Mace would distribute the pills to other co-
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 11 of 14 PageID 406



 conspirators. According to the Government, Mace carried the
 firearm "when he was doing to deals with the co-conspirators

 while Mr. Vega was standing in the same hotel room with him,

 and Mr. Vega knew that Mr. Mace had a gun."                (D-84,p. 9.)
        Petitioner did not dispute that he was aware that Mace

 possessed the firearm on those occasions.                    Nonetheless,

 Petitioner's counsel objected to two-level increase and argued

 that    while   Petitioner knew that          Mace   had    the firearm,

 Petitioner did not have any control Mace's possession of it

 and therefore Mace's conduct should not be attributed to

 Petitioner.

        Section 2Dl.1 (b)(1) calls for the base offense level to
 be increased by two levels if a firearm was possessed.                This

 enhancement may be applicable to a defendant based on a co-

 conspirator's possession if the co-conspirator's possession of

  the weapon was reasonably foreseeable by the defendant.
 United States v. Novaton, 271 F.3d 968, 1014 (11th Cir. 2001)
  (citing United States v. Gallo, 195 F.3d 1278 (11th Cir.

  1999)), cert. denied, 537 U.S. 1031 (2002). As such, for the

  enhancement to be applicable, the Government must prove the
  following by a preponderance of the evidence:

        (1) the possessor of the firearm was a co-
        conspirator, (2) the possession was in furtherance
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 12 of 14 PageID 407



       of the conspiracy, (3) the defendant was a member of
       the conspiracy at the time of the possession, and
       (4) the co-conspirator p~ssession was reasonably
       foreseeable by the defendant.
 Id.
       In this case, the Government argued that the evidence

 would show that after Petitioner returned from Canada with the

 pills, he and Mace went to hotel rooms where they would meet

  with other co-conspirators and distribute the pills to them
  and that Mace carried a firearm during these times and that

  Petitioner knew that Mace had the firearm.                   petitioner,

  through counsel, admitted that he knew Mace had a gun.                (Id.
  at p. 7.) The Court found that Mace had carried a firearm to

  meetings with Petitioner and other co-conspirators during the

  course of the conspiracy and, as such, the two-level increase

  was justified.      (Id.at p. 12.) While the Court did not make
  a finding as to the foreseeability of Mace's possession of the

  firearm, Petitioner's substantial rights were not affected as

  his knowledge of Mace's possession of the firearm was not in

  dispute. Novaton, 271 F.3d at 1014-15.
        Petitioner cannot show any prejudice resulting from his

  counsel's argument as to the firearm enhancement because the
  enhancement was warranted given the controlling law and the
  evidence presented by the Government.              Apparently all the
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 13 of 14 PageID 408



  other co-conspirators who met with Mace and petitioner at the
  hotel were aware that Mace possessed a firearm on those

  occasions.      As   such, even had Petitioner's counsel not

  admitted that Petitioner was aware of Mace's possession of the

  firearm, the Government had evidence to the contrary to
  establish by a preponderance of the evidence that Petitioner

  either knew of Mace's firearm or that Mace's possession of the

  firearm was reasonably foreseeable.           Furthermore, Petitioner

  has not pointed to any evidence suggesting that it was clearly
  improbable that Mace's possession of the firearm was related

  to the offense.       As such, Petitioner is not entitled to the

  relief he seeks.

        Accordingly, it is ORDERED that:

        1)   Petitioner "Petition for Writ Under Title 28 U.S.C.

  5 2255 to Vacate and Set Aside the Judgment of Conviction" (D-

  l) is DENIED as moot.

        2)    Petitioner's Amended Petition for Writ Under Title

  28 U.S.C. 5 2255 to Vacate and Set Aside the Judgment of

  Conviction (D-6) is DENIED.
Case 8:02-cr-00129-SDM-TBM Document 92 Filed 06/20/05 Page 14 of 14 PageID 409




         3)    The Clerk is directed to enter judgment in favor of

    the Government, terminate all pending motions in the civil and

    criminal file and close this case.
         DONE AND ORDERED at Tampa, Florida this               dday of
                                                             -20
    June, 2005.




                                 wILLI   ~ ~ T A G N A

                                 SENIOR UNITED STATES DISTRICT JUDGE



    Copies to:

    Pro Se Party

    United States Attorney
